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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO

WESTERN WATERSHEDS PROJECT,             )            No. 4:08-cv-435-BLW
                                        )
       Plaintiff,                       )            MOTION FOR REMEDIAL RELIEF
                                        )            ON PHASE ONE AND PHASE TWO
vs.                                     )            ALLOTMENTS
                                        )
RYAN ZINKE*, Secretary,                 )
DEPARTMENT OF THE INTERIOR, an )
agency of the United States, and BUREAU )
OF LAND MANAGEMENT,                     )
                                        )
       Defendants.                      )

        Plaintiff Western Watersheds Project (“Western Watersheds”) respectfully moves the

Court for remedial relief setting a deadline of March 1, 2019 for BLM to issue new final grazing

decisions and associated NEPA analyses on the “Phase One” and “Phase Two” allotments at

issue in this litigation.

        As explained in more detail in the accompanying Opening Brief, the Court has already

granted partial summary judgment for Western Watersheds holding that BLM violated NEPA

and FLPMA in issuing grazing permits affecting key sage-grouse habitats on nine allotments in

the Owyhee, Bruneau and Burley Field Offices, and remanded for BLM to conduct NEPA

analysis and issue new permits in compliance with FLPMA and implementing regulations. See

Western Watersheds Project v. Salazar, 843 F. Supp. 2d 1105 (D. Idaho February 6, 2012), ECF

* Pursuant to F.R.Civ.25(d), current Interior Secretary Ryan Zinke is automatically substituted
for former Secretaries Ken Salazar and Sally Jewell.
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No. 171 (“Phase One SJ Ruling”) (holding unlawful grazing decision on the Battle Creek and

East Castle Creek allotments in the Bruneau Field Office, and the Rockville, Silver City and

Diamond Basin allotments in the Owyhee Field Office); Western Watersheds Project v. Jewell,

No. 4:08-cv-435-BLW, 2014 WL 4853121 (D. Idaho Sept. 29, 2014), ECF No. 265

(Memorandum Decision and Order) (“Phase Two SJ Ruling”) (holding unlawful BLM’s final

grazing decisions on the Jim Sage, Almo-Womack, Chokecherry and Cassia Creek allotments in

the Burley Field Office). These nine allotments at issue in the Phase One and Phase Two SJ

Rulings are the “contested allotments” for which Western Watersheds now seeks remedial relief.

       Even though the Court issued these Phase One and Phase Two SJ Rulings in 2012 and

2014, respectively, BLM has still not completed the necessary NEPA analysis or issued new

final grazing permits for the contested allotments. BLM refuses to agree or adhere to any

deadline for completing the NEPA analysis and issuing the permits, yet grazing continues under

the terms of the unlawful permits in key sage-grouse habitats.

       In order to wrap up this case and end BLM’s foot-dragging and delay, Western

Watersheds thus prays the Court to issue a remedial order setting the requested deadline of

March 1, 2019 – i.e., before the start of the 2019 grazing season – for BLM to comply with the

Phase One and Phase Two SJ Rulings, and issue new final permits with required NEPA and

FLPMA analysis for the nine contested allotments.

       This Motion is brought pursuant to Rule 65 of the Federal Rules of Civil Procedure, the

Administrative Procedure Act, 5 U.S.C. § 706, and the Court’s equitable authority to issue relief

implementing its summary judgment rulings. This motion is supported by the accompanying

Opening Brief In Support Of Motion For Remedial Relief On Phase One And Phase Two

Allotments; the Declaration of Todd C. Tucci; by all orders, pleadings, declarations and other




MOTION FOR REMEDIAL RELIEF ON PHASES ONE AND TWO ALLOTMENTS -- 2
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matters already on file with the Court; and by such further and other matters as may be presented

to the Court prior to decision.

        WHEREFORE, Plaintiff Western Watersheds respectfully prays that the Court grant this

Motion and enter remedial relief ordering BLM to issue by March 1, 2019 new final grazing

decisions and associated NEPA analyses on the “Phase One” and “Phase Two” allotments at

issue in this litigation.

Dated this 10th day of January 2018.                Respectfully submitted,

                                                    /s/ Todd C. Tucci___
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                                                    Project


                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 10th day January, 2018, I caused the foregoing MOTION
FOR REMEDIAL RELIEF ON PHASE ONE AND PHASE TWO ALLOTMENTS, and the
accompanying OPENING BRIEF IN SUPPORT OF MOTION FOR REMEDIAL RELIEF and
DECLARATION OF TODD C. TUCCI, and all attendant exhibits, to be electronically filed with
the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic Filing to all
counsel of record in this matter as follows:

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                                                     /s/ Todd C. Tucci___
                                                     Todd C. Tucci




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